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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



    Erik J. Cardin,

                           Plaintiff,
            V.                                                Case No. l:19-cv-01646
                                                              Hon. Liam O'Grady
    Leah M.Olszewski,

                           Defendant.


                                             ORDER


        This matter came before the Court on Plaintiff Erik Cardin's "motion for the Court to

consider California statutory authority on [his] motion to exclude secret audio recordings made in

 Califomia." See Dkt. 180.

        Mr. Cardin challenged the admissibility of several audio recordings made by Defendant

 Leah Olszewski during arguments between the Parties in their Califomia residence during 2017.

 He contended that Ms. Olszewski made these recordings surreptitiously, capturing Mr. Cardin's

 confidential communications without his knowledge or consent. See id. at 1-2. As such, he urged

 the Court to preclude Ms. Olszewski's recordings from evidence pursuant to Cal. Penal Code

 § 632, which contains a civil exclusionary rule for recordings made "intentionally and without the

 consent of all parties to a confidential communication, us[ing] an electronic amplifying or

 recording device to eavesdrop upon or record the confidential communication, [where] the

 communication is carried on among the parties in the presence of one another...." Id. § 632(a).

        Section 632(c) of the Califomia Penal Code defines a "confidential communication" as

"any communication carried on in circumstances as may reasonably indicate that any party to the

 communication desires it to be confined to the parties thereto, but excludes a communication made
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